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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
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UNITED STATES OF AMERICA,                                   :

                 -against-                                 :       07 Cr. 759 (WHP)

Joseph Ighodaro,                                            :      ORDER
                                    Defendant.              :
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WILLIAM H. PAULEY III, United States District Judge:

                 This Court will hold a teleconference on Wednesday, October 21, 2020 at 1:30

p.m. regarding defendant’s violation of supervised release. The dial-in number is 888-363-4749,

passcode 3070580.



Dated: October 16, 2020
       New York, New York
